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 3
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 4
     Attorney for Defendant,
 5   RANDOLPH PICCHI
 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:19-CR-00153 DAD-BAM

11            Plaintiff,                                       STIPULATION FOR PRETRIAL
                                                               RELEASE AND ORDER
12                  v.                                         THEREON

13   RANDOLPH PICCHI,

14          Defendant.

15
16          Defendant, RANDOLPH PICCHI, by and through his counsel, John F. Garland and the
17
     United States of America, by and through its counsel, McGregor W. Scott, United States
18
     Attorney and Ross Pearson, Assistant United States Attorney, hereby stipulate that the defendant
19
     be released pretrial and that the defendant's pretrial release is subject to the conditions set forth
20
21   below.

22                                             STIPULATIONS
23
           The parties stipulate and agree to the following:
24
     (1)   The United States is currently in the midst of a world-wide coronavirus pandemic.
25
     Coronavirus (COVID-19) is an extraordinarily contagious disease and extraordinary and crucial
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27   efforts to contain it have been ordered by the President of the United States, the Centers for

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     Disease Control and Prevention ("CDC"), and the Governor of the State of California. The
 1
 2   pandemic and the aforementioned orders are impacting the lives of every person in the United

 3   States.

 4   (2)       The CDC has published a list of persons who are at high-risk for severe illness or death
 5
     from COVID-19. (http://www.cdc.gov/coronavirus/2019-ncov/faq.html#conditions) Based on
 6
     the CDC's criteria, defendant's age (62 years old), living conditions (county jail) and medical
 7
     conditions (mild Chronic Obstructive Pulmonary Disease (COPD), irregular heartbeat, diabetes,
 8
 9   liver cirrhosis, hepatitis C, complications from gall bladder surgery and possible colon tumors)

10   place him in the group of those persons at extremely high-risk for severe illness and possibly
11
     death from COVID-19 if he remains incarcerated during the coronavirus pandemic.
12
     (3)       Jails and prisons are "tinderboxes for infectious diseases." Jails - where prisoners come
13
     and go more frequently than in prison - are responsible for some of the worst COVID-19
14
15   outbreaks in the United States. The Fresno County Jail, where the defendant is housed, is no

16   exception. Since June 19, 2020 there has been an outbreak of COVID-19 in the Fresno County
17   Jail. As of July 7, 2020 580 inmates have tested positive for COVID-19 at the Fresno County
18
     Jail.
19
     (4)       Because the defendant presents with extraordinary high-risk of severe illness or possibly
20
21   death from COVID-19 if he contracts the highly contagious virus while incarcerated, pretrial

22   release is warranted.
23                                   PRETRIAL RELEASE CONDITIONS
24
     (1) The defendant shall not violate any federal, state or local laws while on release.
25
     (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42
26
27   U.S.C. § 14135a.

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                                                          2
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     (3) The defendant is released to the third party custody of Michelle Powers.
 1
 2   (4)    The defendant shall reside at the residence of Michelle Powers and not move or absent

 3   himself from that residence for more than 24 hours without prior approval.

 4   (4)    The defendant's travel is restricted to the Northern and Eastern Districts of California.
 5
     (5)    The defendant must surrender his passport to the Clerk of the United States District Court
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     and must not apply for or obtain a passport or any other travel documents during the pendency of
 7
     this case.
 8
 9   (6)   The defendant must not possess, have in his residence, or access to any forearm or

10   ammunition, or other dangerous weapons; additionally, the defendant must provide written proof
11
     of divestment of all firearms and ammunition currently under his control.
12
     (7)   The defendant must refrain from the excessive use of alcohol or any use of a narcotic drug
13
     or other controlled substance without a prescription by a licensed medical practitioner. However,
14
15   medicinal marijuana prescribed and/or recommended may not be used.

16   (8)    The defendant must submit to drug and/or alcohol testing upon request.
17   (9) The defendant must appear in court as required and, if convicted, must surrender as directed
18
     to serve any sentence that the court may impose.
19
            If the defendant fails to abide by the pretrial release conditions set forth herein, the
20
21   defendant's release may be revoked and the defendant may be detained.

22
     Dated: July 8, 2020                                             /s/ John F. Garland
23                                                                     John F. Garland
24                                                                  Attorney for Defendant
                                                                    RANDOLPH PICCHI
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 1   Dated: July 8, 2020                                          McGregor W. Scott
 2                                                               United States Attorney

 3                                                                /s/ Ross Pearson
                                                               By: Ross Pearson
 4                                                                  Assistant U.S. Attorney
 5
 6
                                                  ORDER
 7
              GOOD CAUSE APPEARING, based on the stipulation of the parties,
 8
 9   IT IS HEREBY ORDERED that defendant RANDOLPH PICCHI is RELEASED from custody

10   and the defendant is subject to the pretrial release conditions set for above. Defendant is not on
11
     Pretrial Services supervision, and if Defendant violates, the government is directed to file the
12
     appropriate motion.
13
     IT IS SO ORDERED.
14
15       Dated:      July 9, 2020                                       /s/ Barbara A. McAuliffe                     _
16                                                              UNITED STATES MAGISTRATE JUDGE

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